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UNITED STATES COURT OF INTERNATIONAL TRADE
HON. M. MILLER BAKER, JUDGE
----------------------------------------------------------------------
RICHMOND INTERNATIONAL                                                :
FOREST PRODUCTS LLC                                                   :
                                                                      :
                                                                      :
                               Plaintiff,                             : Court Nos. 21-00178,
                                                                      :   21-00063, 21-00318
                       v.                                             :   and 21-00319
                                                                      :
UNITED STATES,                                                        :
U.S. CUSTOMS & BORDER PROTECTION                                      :
                                                                      :
                               Defendants.                            :
----------------------------------------------------------------------

                                       ORDER

      Upon reading Plaintiff’s Motion for Consolidation or Test Case
Designation and Suspension, upon due deliberation and consideration of
all other papers before the Court, and for good cause shown, it is
hereby,

     ORDERED that Court Nos. 21-00178, 21-00063, 21-00318 and 21-
00319 are consolidated under this lead case, Richmond International
Forest Products LLC v. United States, Consolidated Court No. 21-
00178; and it is further

      ORDERED that the parties shall confer and submit a joint motion
to amend the scheduling order in Consolidated Court No. 21-00178
within 30 days to ensure the expeditious continuation of discovery in
this lead case.


                    ____________________________________
                            Judge M. Miller Baker
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Dated:    New York, New York

          _____________________, 2022
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UNITED STATES COURT OF INTERNATIONAL TRADE
HON. M. MILLER BAKER, JUDGE
----------------------------------------------------------------------
RICHMOND INTERNATIONAL                                                :
FOREST PRODUCTS LLC                                                   :
                                                                      :
                                                                      :
                               Plaintiff,                             : Court Nos. 21-00178,
                                                                      :   21-00063, 21-00318
                       v.                                             :   and 21-00319
                                                                      :
UNITED STATES,                                                        :
U.S. CUSTOMS & BORDER PROTECTION                                      :
                                                                      :
                               Defendants.                            :
----------------------------------------------------------------------

                                       ORDER

      Upon reading Plaintiff’s Motion for Consolidation or Test Case
Designation and Suspension, upon due deliberation and consideration of
all other papers before the Court, and for good cause shown, it is
hereby,

      ORDERED that Court No. 21-00178 shall be designated as a test
case pursuant to Rule 84(b) and that the Clerk of the Court shall place
case 21-00178 on the test case list;

      ORDERED that Court Nos. 21-00063, 21-00318 and 21-00319
involve the same significant issues of law with the above captioned case,
and shall be placed by the Clerk of the Court on the Suspension
Calendar in accordance with Rule 84 pending final determination of
case 21-00178 granted test case designation.



                    ____________________________________
                            Judge M. Miller Baker
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Dated:    New York, New York

          _____________________, 2022
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UNITED STATES COURT OF INTERNATIONAL TRADE
HON. M. MILLER BAKER, JUDGE
----------------------------------------------------------------------
RICHMOND INTERNATIONAL                                                :
FOREST PRODUCTS LLC                                                   :
                                                                      :
                                                                      :
                               Plaintiff,                             : Court Nos. 21-00178,
                                                                      :   21-00063, 21-00318
                       v.                                             :   and 21-00319
                                                                      :
UNITED STATES,                                                        :
U.S. CUSTOMS & BORDER PROTECTION                                      :
                                                                      :
                               Defendants.                            :
----------------------------------------------------------------------

         PLAINTIFF’S MOTION FOR CONSOLIDATION OR
          TEST CASE DESIGNATION AND SUSPENSION


   Pursuant to Rule 42(a) of the United States Court of International

Trade, Plaintiff respectfully requests the Court to consolidate the

captioned actions or, in the alternative, to designate Court No. 21-00178

as a test case pursuant to Rule 83(f), and to place Court Nos. 21-00063,

21-00318 and 21-00319 on the Suspension Calendar in accordance with

Rule 83(h), as they each involve the same significant issues and

questions of law or fact as Court No. 21-00178.
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I. Background

  Each of the captioned actions concerns hardwood plywood

manufactured in Cambodia by Cambodian manufacturer LB Wood

(Cambodia) Co., Ltd. (“LB Wood”). The subject merchandise was

imported into the United States in a total of 60 different entries filed in

2018 and 2019 as follows:

    Court Number              Protest Number                 Number of
                                                             Entries
        21-00178               5301-20-106603                    1
        21-00063               4601-20-118749                    3
        21-00318               4601-21-125036                   23
        21-00319               4601-21-125039                   33

  For each of these shipments, Plaintiff did not, at the time of entry,

deposit antidumping (“AD”) and countervailing duties (“CVD”) duties,

or the duties applicable to certain products of China authorized under

Section 301 of the Trade Act of 1974, 19 U.S.C. § 2411 (“Section 301

duties”), or merchandise processing fees (“MPF”), given that the

hardwood plywood was a Cambodian-origin product. No AD/CVD order

has been in effect for imports of hardwood plywood from Cambodia, no

Section 301 duties apply to merchandise from Cambodia and no MPF is




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owed on merchandise that is a “product of” a least developing country

such as Cambodia pursuant to 19 C.F.R. § 24.23(c)(iv).

  For each of the 60 entries covered by the captioned actions, U.S.

Customs and Border Protection (“CBP”) has made a factual

determination that the plywood core for these products was

manufactured in China. Based upon this factual determination, CBP

concluded that the country of origin of the imported merchandise is

China, instead of Cambodia, and liquidated the entries with the

assessment of AD/CVD based upon the AD/CVD orders applicable to

hardwood plywood from China. In addition, CBP liquidated each of the

entries in the captioned actions with the assessment of Section 301

duties and MPF applicable to hardwood plywood of Chinese origin.

  Plaintiff filed four separate, timely protests with CBP covering each

of the entries in question, providing evidence demonstrating that the

imported plywood panels covered by each entry were produced by LB

Wood in Cambodia from Cambodian or Chinese veneer sheets, which

were pressed into a core in Cambodia. Each of these protests were

denied (one was deemed denied pursuant to 19 U.S.C. § 1515(b) and 19

C.F.R. § 174.22), and Plaintiff subsequently filed four separate actions

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in this Court challenging these protest denials: Court No. 21-00178,

Court No. 21-00318, Court No. 21-00319 and Court No. 21-00063.

     Importantly, each of the four captioned actions involve the same:

     1) Plaintiff:   Richmond International Forest Products LLC

     2) Defendants: United States and U.S. Customs and Border
        Protection1

     3) Counsel:     Roll & Harris LLP and Mowry & Grimson, PLLC

     4) Merchandise:      Hardwood Plywood

     5) Manufacturer: LB Wood in Cambodia

     6) Factual Issue: Whether the imported merchandise was
        manufactured using individual wood veneers that were pressed
        into a core in Cambodia.

     7) Relief requested:      Refund of AD/CVD, Section 301 duties and
        MPF

     As the Court is aware, Plaintiff has already begun actively litigating

Court No. 21-00178. Plaintiff opted to first file a complaint in Court No.

21-00178, believing that judicial economy would be best served by

starting litigation with the case that had just a single entry. The other

cases referenced above remained on the Customs Case Management

Calendar until Plaintiff filed a complaint in each of these cases on May


1   The United States is the only defendant in Court No. 21-00063.
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5, 2022. Operating under the scheduling order issued by the Court on

August 27, 2021, Plaintiff served its first set of interrogatories in Court

No. 21-00178 on Defendant on January 28, 2022. As of the date of this

motion, Defendant has not responded to this initial discovery request

(and Plaintiff has agreed to Defendant’s requests for extensions of time

to respond).



II. The Four Captioned Actions Should Be Consolidated Into A Single
    Case Pursuant To Rule 42(a).

  Given that the four captioned actions involve identical parties,

counsel, imported merchandise, factual issues and relief requested, we

respectfully request that the Court consolidate these four actions into a

single action pursuant to USCIT Rule 42(a).

  As recently explained by this Court in Danze, Inc. v. United States,

463 F. Supp. 3d 1349, 1353 (Ct. Int’l Trade 2020), both consolidation

and test case designation “serve to achieve economies of time, effort and

expense, and to promote uniformity of decisions” by resolving “a

common question of law or fact” shared by multiple cases. Danze, 463 F.

Supp. 3d at 1353, quoting Generra Sportswear, Inc. v. United States, 16

CIT 313, 314 (1992). In consolidation, various actions are merged into a
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single action, and “the final decision in [that] action has binding legal

effect on all of the merged actions.” Id.; see also USCIT Rule 42(a).

  Consolidation is preferable to test case designation when the cases at

issue share “a single discreet [sic] factual issue” with little variation

between the entries involved. Junior Gallery, Ltd. v. United States, 16

CIT 687, 689 (1992). However, consolidation is “not appropriate when

the actions are so numerous that consolidation will complicate

discovery, [or] make trial preparation overly burdensome.” Peg

Bandage, Inc. v. United States, 16 CIT 319, 321 (1992) (internal citation

omitted). Thus, the test case procedure “is preferable when

consolidation poses a potential for an unwieldly and chaotic

proceeding.” A.T. Clayton & Co. v. United States, 16 CIT 456, 458

(1992) (internal citation omitted).

  As explained previously, the four captioned actions at issue here all

involve a single discrete factual issue – i.e., whether the imported

plywood in each entry was manufactured at LB Wood in Cambodia by

pressing individual veneers into a core in Cambodia. Moreover, there is

very little (if any) factual variation among the 60 entries covered by

these four separate actions: all of the entries in question cover

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substantially identical (and in most cases exactly identical) hardwood

plywood products manufactured in the same manner at the same

facility during the same time period. Merging these four actions into a

single action would therefore significantly conserve judicial resources.

Given the factual overlap among the 60 entries noted above, a single

trial in the consolidated action would avoid the need for multiple

proceedings to establish facts that are common and relevant to all of the

cases: e.g., the manner in which LB Wood operates, the production

process at the factory, the types of information recorded in relevant

production records, etc. In addition, consolidating these four actions

into a single case would reduce the need for Plaintiff’s and Defendant’s

counsel to engage in duplicative identical discovery requests, foreign

depositions and other activities intended to determine facts that are

necessarily common to all of the cases.

  Importantly, there is nothing to suggest that consolidation of these

four actions “would likely produce an unwieldy and chaotic case.”

Danze, 463 F. Supp. 3d at 1354. There is a single identical plaintiff in

each of these cases, and thus consolidation would not require special

efforts to shield confidential business information from disclosure across

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different plaintiffs. Similarly, there would be no need for the Defendant

to depose multiple different company representatives pursuant to

USCIT Rule 30(b)(6). Previous cases consolidated by this Court have

involved similar and, in at least one case, arguably more complex

proceedings. See, e.g., Peg Bandage, supra (consolidating three cases

covering five protests and 31 entries, all of which involved the nature of

processing operations in Haiti to determine duty-free eligibility of

imported merchandise under a tariff provision covering “articles

exported for repairs or alterations”) and Junior Gallery, supra

(consolidating 96 separate cases involving different types of

merchandise and four plaintiffs).

  An additional consideration weighing heavily in favor of

consolidation of these cases is the fact that discovery in Court No. 21-

00178 is already under way. Because these four actions share common

factual issues, the current discovery process and pending first set of

interrogatories already served by the Plaintiff in Court No. 21-00178

can easily be amended to cover all 60 of the entries at issue in this case

– and many of the pending discovery requests would apply to all four

cases even without any amendment regarding specific entries. Absent

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consolidation, three new scheduling orders and three new discovery

periods will need to be established, thereby significantly compounding

the time and resources required before these actions can be conclusively

decided.

  Based upon the above, we respectfully submit that judicial economy

and the public interest in expeditious determination of these four

actions will best be served by consolidating these cases. Therefore, we

request this Court order the captioned actions to be consolidated under

this lead case, Richmond International Forest Products LLC v. United

States, Consolidated Court No. 21-00178, and issue an amendment to

the scheduling order following consultations between the parties to

ensure the expeditious continuation of discovery in this lead case.



III. In The Alternative, Court No. 21-00178 Should Be Designated As A
   Test Case Pursuant To Rule 83(f), And Court Nos. 21-00063, 21-
   00318 And 21-00319 Should Be Placed On The Suspension Calendar
   In Accordance With Rule 83(h).

  In the alternative, should the Court determine that consolidation of

the four captioned actions is not appropriate, we respectfully request

that Court No. 21-00178 be designated as a test case pursuant to

USCIT Rule 83(f), and Court Nos. 21-00063, 21-00318 and 21-00319 be
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placed on the Suspension Calendar in accordance with USCIT Rule

83(h).

  A test case is defined under USCIT Rule 83(e) as “an action, selected

from a number of other pending actions involving the same significant

question of law or fact that is intended to proceed first to final

determination and serve as a test of the right to recovery in the other

actions.” As explained by the Court in Danze, contrary to consolidation,

in a test case “the suspended actions maintain their separate identities”

such that the disposition of the test case “is not necessarily legally

binding on the suspended actions.” Danze, 463 F. Supp. 3d at 1353,

quoting Generra, 16 CIT at 314.

  Court No. 21-00178 is well-suited for test case designation. The

proposed test case involves a single entry and, as explained above,

involves merchandise and factual issues that are substantially identical

to those in cases Court Nos. 21-00063, 21-00318 and 21-00319 –

specifically, whether the imported plywood was manufactured at LB

Wood in Cambodia by pressing individual veneers into a core in

Cambodia. Given this commonality of issues, a single trial producing a

decision dispositive of Court No. 21-00178 would truly “serve as a test of

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the right to recovery in the other actions,” and thereby likely conserve

judicial resources by avoiding duplicative litigation. Moreover, as the

Court is aware, and as previously noted, Plaintiff has been actively

litigating Court No. 21-00178 and the progress of this proposed test

case is relatively advanced – the Defendant’s answer has been filed, the

Court has issued a scheduling order, the discovery process is proceeding

expeditiously and Plaintiff’s first set of interrogatories has been served

on Defendant. Designating Court No. 21-00178 as a test case would

therefore be the swiftest and most efficient means to reach a final

determination of the right to recovery in all of the captioned actions.

  Significantly, this Court has regularly used the test case procedure

in similar actions involving the country of origin of imported

merchandise. See, for example, Meyer Corp., U.S. v. United States,

2021 Ct. Intl. Trade LEXIS 26, SLIP OP. 2021-26, S.C. Johnson & Son,

Inc. v. United States, 415 F. Supp. 3d 1373 (Ct. Int’l Trade 2019) and

Sassy, Inc. v. United States, 24 C.I.T. 700, 2000 Ct. Intl. Trade LEXIS

93, SLIP OP. 2000-93. Each of these cases concerned (in whole or in

part) the eligibility of the imported merchandise for duty-free treatment

under the Generalized System of Preferences – a conclusion that would

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necessarily require the court to determine the country of origin of that

merchandise as a condition of preferential treatment. Rather than have

the plaintiffs litigate numerous related actions involving identical facts,

in each of these cases the Court narrowed its focus to a designated test

case to assess the plaintiff’s overall right of recovery. Similar

considerations support the designation of a test case in this case, in

which a common factual determination – i.e., whether the imported

plywood in each entry was manufactured at LB Wood in Cambodia by

pressing individual veneers into a core in Cambodia – must be made as

a condition of Plaintiff’s right to recovery in each of the captioned

actions.

  Pursuant to USCIT Rule 83(f), if Court No. 21-00178 is designated as

a test case, Plaintiff will continue to actively prosecute this case

(including any appellate prosecution or defense). In addition, to ensure

that the final determination in Court No. 21-00178 can serve as a test of

the right to recovery in all other actions pending before this Court that

involve the same significant questions of law or fact, Plaintiff

respectfully requests the Court order that Court Nos. 21-00063, 21-

00318 and 21-00319 be placed on the Suspension Calendar.

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  On May 6, 2022, Hardeep K. Josan, Esq., counsel for Defendant, in

response to the undersigned’s request for consent, advised that

Defendant did not yet have a position with respect to the relief

requested.

  WHEREFORE, Plaintiff respectfully requests that this motion be

granted.


                            Michael E. Roll
                            Brett Ian Harris
                            ROLL & HARRIS LLP
                            Attorneys for Plaintiff
                            1999 Avenue of the Stars – Suite 1100
                            Los Angeles, CA 90067
                            310-294-9501


                            Jeffrey S. Grimson
                            Jill A. Cramer
                            MOWRY & GRIMSON, PLLC
                            5335 Wisconsin Avenue, Suite 810
                            Washington, DC 20015
                            202-688-3610
                            trade@mowrygrimson.com


                            By:_/s/ Michael E. Roll
                            One of Plaintiff’s attorneys


Dated: May 6, 2022


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